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                    Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per
                    quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any
                    amount of the restitution remains unpaid after release from custody, nominal monthly payments
                    of at least 10% of defendant's gross monthly income but not less than $100, whichever is greater,
                    shall be made during the period of supervised release and shall begin 30 days after the
                    commencement of supervision. Nominal restitution payments are ordered as the Court finds that
                    the defendant's economic circumstances do not allow for either immediate or future payment of
                    the amount ordered.

                    Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the
                    defendant does not have the ability to pay interest. Payments may be subject to penalties for
                    default and delinquency pursuant to 18 U.S.C. § 3612(g).

                    The defendant shall comply with General Order No. 01-05.

                    All fines are waived as it is found that the defendant does not have the ability to pay a fine in
                    addition to restitution.

                    Upon release from imprisonment, the defendant shall be placed on supervised release for a term
                    of 3 years under the following terms and conditions:

                                1. The defendant shall comply with the rules and regulations of the United States
                                   Probation Office, General Order 05-02, and General Order 01-05, including the
                                   three special conditions delineated in General Order 01-05.

                                2. The defendant shall refrain from any unlawful use of a controlled substance. The
                                   defendant shall submit to one drug test within 15 days of release from
                                   imprisonment and at least two periodic drug tests thereafter, not to exceed eight
                                   tests per month, as directed by the Probation Officer.

                                3. The defendant shall participate in an outpatient substance abuse treatment and
                                   counseling program that includes urinalysis, breath and sweat patch testing, as
                                   directed by the Probation Officer. The defendant shall abstain from using illicit
                                   drugs and alcohol, and from abusing prescription medications during the period of
                                   supervision.

                                4. During the course of supervision, the Probation Officer, with the agreement of the
                                   defendant and defense counsel, may place the defendant in a residential drug
                                   treatment program approved by the United States Probation Office for treatment of
                                   narcotic addiction or drug dependency, which may include counseling and testing,
                                   to determine if the defendant has reverted to the use of drugs, and the defendant
                                   shall reside in the treatment program until discharged by the Program Director and
                                   Probation Officer.
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                                5. During the period of community supervision, the defendant shall pay the special
                                   assessment and restitution in accordance with this judgment's orders pertaining to
                                   such payment.

                                6. The defendant shall comply with the immigration rules and regulations of the
                                   United States, and if deported from this country, either voluntarily or involuntarily,
                                   not reenter the United States illegally. The defendant is not required to report to the
                                   Probation Office while residing outside of the United States; however, within 72
                                   hours of release from any custody or any reentry to the United States during the
                                   period of Court-ordered supervision, the defendant shall report for instructions to
                                   the United States Probation Office located at: United States Court House, 312
                                   North Spring Street, Room 600, Los Angeles, California 90012.

                                7. The defendant shall not obtain or possess any driver's license, Social Security
                                   number, birth certificate, passport, or any other form of identification in any name,
                                   other than the defendant's true legal name; nor shall the defendant use, for any
                                   purpose or in any manner, any name other than his true legal name or names
                                   without the prior written approval of the Probation Officer.

                                8. The defendant shall cooperate in the collection of a DNA sample from the
                                   defendant.

                                9. The defendant shall apply all monies received from income tax refunds to the
                                   outstanding court-ordered financial obligation. In addition, the defendant shall
                                   apply all monies received from lottery winnings, inheritance, judgments and any
                                   anticipated or unexpected financial gains to the outstanding court-ordered financial
                                   obligation.

                    The Court authorizes the Probation Office to disclose the Presentence Report to the substance
                    abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug
                    dependency. Further redisclosure of the Presentence Report by the treatment provider is
                    prohibited without the consent of the sentencing judge.

                    It is further ordered that the defendant surrender himself to the institution designated by the
                    Bureau of Prisons on June 1, 2015 at 12:00 noon. In the absence of such designation, the
                    defendant shall report on or before the designated same date and time, to the United States
                    Marshal located at the Roybal Federal Building, 255 East Temple Street, Los Angeles, California
                    90012.




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                    Upon surrender, the Court ORDERS that defendant be evaluated by a medical doctor for his
                    facial medical condition.

                    The Court recommends that the defendant be designated in a Bureau of Prison facility somewhere in
                    Southern California and in particular, FCI Terminal Island, Taft or Lompoc.

                    The Court recommends to the Bureau of Prisons: that defendant be designated to a BOP facility that
                    offers the 500-hour Residential Drug Abuse Program (RDAP)

                    Defendant informed that he has waived his right to appeal.

                    On the Government's motion, all remaining counts of the underlying indictment/ information are ordered
                    dismissed.

                   In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
                   Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision,
                   reduce or extend the period of supervision, and at any time during the supervision period or within the maximum period
                   permitted by law, may issue a warrant and revoke supervision for a violation occurring during the supervision period.



            March 16, 2015
            Date                                                     U. S. District Judge BEVERLY REID O’CONNELL

                    It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other
                    qualified officer.

                                                                      Clerk, U.S. District Court



            March 16, 2015                                      By    Renee A. Fisher
            Filed Date                                                Deputy Clerk



                     The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                        STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                         While the defendant is on probation or supervised release pursuant to this judgment:




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                      1.   The defendant shall not commit another Federal, state or             10. the defendant shall not associate with any persons engaged
                           local crime;                                                             in criminal activity, and shall not associate with any person
                      2.   the defendant shall not leave the judicial district without              convicted of a felony unless granted permission to do so by
                           the written permission of the court or probation officer;                the probation officer;
                      3.   the defendant shall report to the probation officer as               11. the defendant shall permit a probation officer to visit him or
                           directed by the court or probation officer and shall submit a            her at any time at home or elsewhere and shall permit
                           truthful and complete written report within the first five               confiscation of any contraband observed in plain view by
                           days of each month;                                                      the probation officer;
                      4.   the defendant shall answer truthfully all inquiries by the           12. the defendant shall notify the probation officer within 72
                           probation officer and follow the instructions of the                     hours of being arrested or questioned by a law enforcement
                           probation officer;                                                       officer;
                      5.   the defendant shall support his or her dependents and meet           13. the defendant shall not enter into any agreement to act as an
                           other family responsibilities;                                           informer or a special agent of a law enforcement agency
                      6.   the defendant shall work regularly at a lawful occupation                without the permission of the court;
                           unless excused by the probation officer for schooling,               14. as directed by the probation officer, the defendant shall
                           training, or other acceptable reasons;                                   notify third parties of risks that may be occasioned by the
                      7.   the defendant shall notify the probation officer at least 10             defendant’s criminal record or personal history or
                           days prior to any change in residence or employment;                     characteristics, and shall permit the probation officer to
                      8.   the defendant shall refrain from excessive use of alcohol                make such notifications and to conform the defendant’s
                           and shall not purchase, possess, use, distribute, or                     compliance with such notification requirement;
                           administer any narcotic or other controlled substance, or            15. the defendant shall, upon release from any period of
                           any paraphernalia related to such substances, except as                  custody, report to the probation officer within 72 hours;
                           prescribed by a physician;                                           16. and, for felony cases only: not possess a firearm, destructive
                      9.   the defendant shall not frequent places where controlled                 device, or any other dangerous weapon.
                           substances are illegally sold, used, distributed or
                           administered;




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                     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth
                     below).


         STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                   The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
         fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1).
         Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining
         to restitution, however, are not applicable for offenses completed prior to April 24, 1996.

                  If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall
         pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

                  The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
         address or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

                  The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material
         change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required
         by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own
         motion or that of a party or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See
         also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

                     Payments shall be applied in the following order:

                             1. Special assessments pursuant to 18 U.S.C. §3013;
                             2. Restitution, in this sequence:
                                       Private victims (individual and corporate),
                                       Providers of compensation to private victims,
                                       The United States as victim;
                             3. Fine;
                             4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                             5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

                  As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing
         credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate
         financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
         defendant shall not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                  The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other
         pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all
         other bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

                  The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
         without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




                                                                                     RETURN

                 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                    to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
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      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                       United States Marshal


                                                                 By
            Date                                                       Deputy Marshal




                                                                            CERTIFICATE

                     I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my
                     office, and in my legal custody.
                                                                       Clerk, U.S. District Court


                                                                 By
            Filed Date                                                 Deputy Clerk




                                                            FOR U.S. PROBATION OFFICE USE ONLY


                    Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
                    extend the term of supervision, and/or (3) modify the conditions of supervision.

                               These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

                    (Signed)
                               Defendant                                                                                Date

                               U. S. Probation Officer/Designated Witness                                               Date




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